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12
                                      UNITED STATES DISTRICT COURT
13
                                     CENTRAL DISTRICT OF CALIFORNIA
14 JOHN BURNELL, et al.                                 Case No. 5:10-cv-00809-VAP-OP; and
                                                        Case No. 5:12-cv-00692 VAP OP;
15                     Plaintiffs,
                                                        Hon. Virginia A. Phillips
16            v.
                                                        JOINT SUPPLEMENTAL BRIEF IN
17 SWIFT TRANSPORTATION
   COMPANY OF ARIZONA, LLC, et al.
                                                        SUPPORT OF MOTION FOR
                                                        PRELIMINARY APPROVAL OF THE
                                                        PARTIES’ CLASS ACTION
18                     Defendants.                      SETTLEMENT
19            and                                       Date of Hearing: August 12, 2009
                                                        Time:            2:30 p.m.
20 JAMES R. RUDSELL,                                    Room:            8A – First Street
             Plaintiff,
21
       v.
22
   SWIFT TRANSPORTATION
23 COMPANY OF ARIZONA, LLC
             Defendant
24
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 1                                        I.    INTRODUCTION
 2            Pursuant to the Court’ s July 19, 2019 minute order, the Parties hereby submit this
 3 joint supplemental brief in support of Plaintiffs’ motion for preliminary approval of the
 4 Parties’ class settlement. Rudsell Dkt. 32; Burnell Dkt. 51. The Court requested further
 5 information regarding “(1) certification of the proposed class for settlement purposes and
 6 (2) the fairness, adequacy and reasonableness of the settlement.”
 7            Rule 23(e)(1)(B) provides that the Court should preliminarily approve a proposed
 8 class settlement and direct notice to the proposed class so long as the Parties have
 9 demonstrated that the Court “will likely be able to: (i) approve the proposal under Rule
10 23(e)(2) [i.e. find that it is fair, reasonable, and adequate following a final fairness
11 hearing]; and (ii) certify the class for purposes of judgment on the proposal.” Here, the
12 Parties’ settlement and evidence submitted demonstrate that each of these conditions are
13 satisfied.
14            Certification is appropriate under Rule 23(a) and (b) because the proposed

15 settlement class meets the numerosity, typicality, adequacy, and commonality
16 requirements. There is no question the settlement class is sufficiently numerous—there
17 are over 19,000 settlement class members. It is similarly undeniable that common

18 questions predominate over any questions affecting only individual class members.
19 These common questions include not only whether Swift’s class-wide policies and
20 practices resulted in systematic wage and hour violations (which Swift denies) but also

21 whether current legislative and political efforts have or will render some or all of the
22 claims in the case invalid. Indeed, as set forth in the preliminary approval motion, these
23 efforts may already have rendered the meal and rest break claims invalid, and it is

24 undeniable that in the current political climate it is a distinct possibility there could be
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 1 further efforts that would render the remaining claims invalid as well. Plaintiffs are
 2 typical and adequate class representatives because they were subject to all the same
 3 policies and procedures as the other settlement class members and their claims therefore
 4 rise and fall with those of the other settlement class members. Finally, as discussed at
 5 length in the preliminary approval motion, the Rule 23(b) superiority requirement is
 6 relaxed in the context of a settlement, and is met here because the settlement is a
 7 comprehensive resolution of a multitude of issues and obviates any need for individual
 8 actions.
 9            As for the fairness, adequacy and reasonableness of the settlement, it is very clear
10 that the amount of the settlement—$7.25 million—is more than adequate when viewed in
11 light of the significant hurdles Plaintiffs and the settlement class would have to overcome
12 in order to recover the maximum exposure amount—$211,000,000.                         Not only would
13 Plaintiffs face numerous obstacles and years of further litigation just to attempt to prevail
14 on a contested class certification motion, for which success is by no means guaranteed,
15 but additionally, given the current political climate it is entirely possible that further
16 administrative or legislative action would further eviscerate the case before Plaintiffs
17 could bring the case to trial. It is well within the range of potential outcomes that

18 Plaintiffs could spend hundreds of thousands of dollars seeking to obtain class
19 certification only to have the rug pulled out from under them halfway through. The
20 fairness and reasonableness of the settlement amount must evaluated in light of the

21 significant probability that the settlement class members will obtain nothing if the
22 settlement is not approved.
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 1            For all these reasons, the parties respectfully request that the Court grant
 2 preliminary approval of the settlement and authorize the dissemination of notice of the
 3 settlement to the members of the settlement class.
 4                                  II. APPLICABLE STANDARDS
 5            In deciding whether to preliminarily approve a class settlement, the Court does not
 6 make a final determination as to the fairness of the settlement or whether a settlement
 7 class can ultimately be certified. Rather, Rule 23(e)(1)(B), as amended in 2018, only
 8 requires the Court to make a preliminary determination that it will likely be able to certify
 9 a settlement class and conclude that a proposed class settlement is fair, reasonable and
10 adequate. See Advisory Committee Notes to 2018 Rule 23 Amendments (“the parties
11 must ensure that the court has a basis for concluding that it likely will be able, after the
12 final hearing, to certify the class… The ultimate decision to certify the class for purposes
13 of settlement cannot be made until the hearing on final approval of the proposed
14 settlement”).
15            In order to certify a settlement class, the Court must find that the four elements of
16 Rule 23(a) are satisfied and that the proposed class falls within at least one of the
17 categories described in Rule 23(b). Amchem Prod., Inc. v. Windsor, 521 U.S. 591, 613-

18 14 (1997). The showing necessary to certify a settlement class is different and less
19 onerous that obtaining certification of a class for litigation, because “ a district court need
20 not inquire whether the case, if tried, would present intractable management problems”

21 when certifying a settlement class. Id. at 620; see also Rodriguez v. Penske Logistics,
22 LLC, 2017 WL 4132430, at *4 (E.D. Cal. 2017) (“despite the Supreme Court’s cautions
23 in Amchem, see 521 U.S. at 620 n.16, a cursory approach appears the norm” for

24 preliminary approval of settlement classes).
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 1            As noted in Plaintiffs’ preliminary approval motion, an order denying certification
 2 of a litigation class does not preclude certification of a settlement class because of the
 3 different considerations at stake. See, e.g., In re Dynamic Random Access Memory
 4 (DRAM) Antitrust Litig., 2013 WL 12333442, at *56 (N.D. Cal. 2013) (“it has long been
 5 recognized that a court may decline to certify a class for litigation purposes only to later
 6 certify the same or a similar class for the limited purpose of settling the litigation.”); In
 7 re: Processed Egg Prod. Antitrust Litig., 2016 WL 3584632, at *8 (E.D. Pa. 2016)
 8 (“common questions of fact and law may predominate with regards to a settlement class,
 9 while separate individual questions could nevertheless prevent certification of a litigation
10 class”); In re New Motor Vehicles Canadian Exp. Antitrust Litig., 269 F.R.D. 80 (D. Me.
11 2010) (certifying settlement class where circuit court had vacated prior certification of
12 identical litigation classes). Further, “on a motion for class certification, the evidentiary
13 rules are not strictly applied and courts can consider evidence that may not be admissible
14 at trial.” Parkinson v. Hyundai Motor Am., 258 F.R.D. 580, 599 (C.D. Cal. 2008); see
15 also Davis v. Social Service Coordinators, Inc., 2012 WL 3744657, *7 (E.D. Cal. 2012)
16 (“Many courts have relaxed the evidentiary requirements for plaintiffs at the conditional
17 certification stage”).

18            In determining whether a proposed class settlement is fair, reasonable and adequate
19 at the preliminary approval stage, the Court need only “evaluate the terms of the
20 settlement to determine whether they are within a range of possible judicial approval.”

21 Wright v. Linkus Enters., Inc., 259 F.R.D. 468, 472 (E.D. Cal. 2009). Rule 23(e)(2)
22 directs the Court to consider whether “(A) the class representatives and class counsel
23 have adequately represented the class; (B) the proposal was negotiated at arm's length;

24 (C) the relief provided for the class is adequate…[and] D) the proposal treats class
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 1 members equitably relative to each other.” Under the “relief provided for the class is
 2 adequate” factor, Rule 23(e)(2) lists a number of subfactors for the Court to consider,
 3 including “the costs, risks, and delay of trial and appeal.”
 4                                           III. ARGUMENT
 5 A.         The Court Will Likely Be Able to Certify A Settlement Class Following a
 6            Final Fairness Hearing
 7            The Court should find that it will likely be able to certify a settlement class
 8 following a final fairness hearing, because each of the Rule 23(a) conditions are satisfied
 9 and the proposed settlement class qualifies for treatment under Rule 23(b)(3). Under
10 Rule 23(a), class certification is appropriate if “(1) the class is so numerous that joinder
11 of all members is impracticable; (2) there are questions of law or fact common to the
12 class; (3) the claims or defenses of the representative parties are typical of the claims or
13 defenses of the class; and (4) the representative parties will fairly and adequately protect
14 the interests of the class.” A class may be certified under Rule 23(b)(3) when “the court
15 finds that the questions of law or fact common to class members predominate over any
16 questions affecting only individual members, and that a class action is superior to other
17 available methods for fairly and efficiently adjudicating the controversy.”

18            For the reasons described below, the Parties’ proposed settlement class consisting
19 of “All Drivers and other similarly-titled employees with similar job duties employed by
20 Defendants to perform work in the State of California who earned mileage based

21 compensation between March 22, 2006 through January 31, 2019” satisfies each of these
22 elements.
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 1            1.       Rule 23(a)
 2                     a.      Numerosity
 3            As described in the declaration of Robert Mussig submitted with Defendant’s
 4 Reply in support of preliminary approval, there are 19,626 persons who meet the
 5 proposed class definition. Dkt 45-1, ¶ 4. As general rule, classes of more than 40
 6 persons are presumed sufficiently numerous to satisfy Rule 23(a)(1). In re Cooper
 7 Companies Inc. Sec. Litig., 254 F.R.D. 628, 634 (C.D. Cal. 2009).                       The proposed
 8 settlement class of 19,626 easily qualifies. See Gatdula v. CRST Int'l, Inc., 2015 WL
 9 12765542, at *3 (C.D. Cal. 2015) (settlement class of over 10,000 persons in employment
10 case against trucking company satisfies numerosity requirement) (C.J. Phillips).
11                     b.      Commonality
12            A settlement class has “sufficient commonality ‘if there are questions of fact and
13 law which are common to the class.’” Hanlon v. Chrysler Corp., 150 F.3d 1011, 1019
14 (9th Cir. 1998) (quoting Rule 23(a)(2)). “Rule 23(a)(2) has been construed permissively”
15 and “[a]ll questions of fact and law need not be common to satisfy the rule. The
16 existence of shared legal issues with divergent factual predicates is sufficient, as is a
17 common core of salient facts coupled with disparate legal remedies within the class.” Id.

18            Here, the proposed class consists of a discrete group of individuals who were
19 employed by Defendant as truck drivers to perform work in California and who earned
20 mileage-based pay. Plaintiffs’ allegations in these cases are that these drivers were not

21 authorized and permitted to take meal and rest periods as a result of alleged job
22 responsibilities and lack of affirmative scheduling of breaks, that Swift’s class wide
23 mileage-based compensation systematically fails to pay drivers for all hours worked

24 performing non-driving tasks (such as completing paperwork), and that Swift did not
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 1 reimburse the proposed class for expenses such as cell phone usage, gas, and tolls.
 2 Burnell Dkt. 107; Rudsell Dkt. 1, Exh. A; Saucillo Decl., ¶ 4; Rudsell Decl., ¶ 4.
 3 Plaintiffs further assert derivative claims that the entire settlement class was not provided
 4 accurate wage statements and was not paid wages timely upon separation of employment.
 5 Id.
 6            While Defendant disputes both the legal and factual validity of these claims, they
 7 present common issues that support certification of a settlement class. Other common
 8 issues in this case are the effect and validity of the December 21, 2018 Federal Motor
 9 Carrier Safety Administration ("FMCSA") determination that California’s meal and rest
10 laws are preempted under 49 U.S.C. § 31141 and whether the Court’s denial of
11 certification of a litigation class should be reversed.1 See In re DRAM Antitrust Litig.,
12 2013 WL 12333442 at *56 (“the proposed settlement classes have a common interest in
13 the outcome of an appeal of the denial of litigation class certification that predominates
14 over any individual certification issues for purposes of Rule 23(b)(3).”)
15            Indeed, courts have regularly held that similar wage and hour claims arising from
16 similar allegations present common issues of fact and law for purposes of a settlement
17 class. In Gatdula v. CRST Int'l, Inc., 2015 WL 12765542, at *3 (C.D. Cal. 2015), this

18 court held that a proposed settlement class of employee truck drivers asserting claims
19 similar to the ones in this case demonstrated sufficient commonality to certify a
20 settlement class. Id. (“Plaintiffs contend the class members share common questions

21 arising out of CRST’s policies regarding hourly compensation, its indemnification of
22 employee expenses, and its payment of wages owed upon termination…these contentions
23
     1
    A copy of the FMCSA’s preemption determination is attached to this supplemental brief
24 as Exhibit A.
                                         -14-                   Case No. 5:10-cv-00809-VAP-OP)
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 1 satisfy the commonality inquiry.”). Likewise, Rodriguez v. Penske Logistics, LLC, 2017
 2 WL 4132430, at *6 (E.D. Cal. 2017) found sufficient commonality to certify a settlement
 3 class in a case challenging the lawfulness of a motor carrier’s piece-rate compensation
 4 system similar to the challenge Plaintiffs assert in this case. In Rodriguez, as here, “the
 5 parties agree[d] the class [wa]s subject to common compensation policies” and “whether
 6 each of those policies violates California law presents several common questions” for
 7 purposes of certifying a settlement class. Id.; see also Fowler v. Union Pac. R.R. Co.,
 8 2018 WL 6318836, at *3 (C.D. Cal. 2018) (“there are questions of law and fact common
 9 to the settlement class, including Defendant's alleged uniform unlawful policy or
10 systematic practice of failing to pay its former employees wages due to them on a timely
11 basis upon separation of their employment”).
12            For these reasons, there is a sufficient record of commonality to support
13 preliminary approval of the Parties’ settlement.
14                     c.      Typicality
15            Under Rule 23(a)(3), “representative claims are ‘typical’ if they are reasonably co-
16 extensive with those of absent class members; they need not be substantially identical.”
17 Hanlon, 150 F.3d at 1020. “The class representative must be able to pursue his or her

18 claims under the same legal or remedial theories as the represented class members.” In re
19 Paxil Litig., 212 F.R.D. 539, 549 (C.D. Cal. 2003).
20            Here, both settling Plaintiffs were California residents employed by Swift as

21 drivers earning mileage-based pay during the settlement class period. Saucillo Decl., ¶ 2;
22 Rudsell Decl., ¶ 2. Both Plaintiffs allege that their mileage-based pay did not compensate
23 them for all of their worktime, that there were unable to take meal and rest breaks, and

24 that certain work expenses went unreimbursed. Burnell Dkt. 107; Rudsell Dkt. 1, Exh. A;
                                                       -15-                  Case No. 5:10-cv-00809-VAP-OP)
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 1 Saucillo Decl., ¶ 4; Rudsell Decl., ¶ 4. Plaintiffs’ claims are therefore typical of the
 2 proposed class’s claims, and Rule 23(a)(3) is satisfied for purposes of certification of a
 3 settlement class. See Gatdula, 2015 WL 12765542, at *4 (typicality satisfied where
 4 “Plaintiffs both allege they were CRST employees and that CRST failed to pay them a
 5 minimum wage, failed to reimburse them for business expenses, and failed to pay them
 6 all vacation owed to them upon termination”).
 7                     d.      Adequacy
 8            “Resolution of two questions determines legal adequacy: (1) do the named
 9 plaintiffs and their counsel have any conflicts of interest with other class members and
10 (2) will the named plaintiffs and their counsel prosecute the action vigorously on behalf
11 of the class?” Hanlon, 150 F.3d at 1020. Plaintiffs’ counsel have no conflicts with the
12 proposed class and are highly capable attorneys with substantial California wage and
13 hour class action experience who have vigorously litigated this action many years, which
14 included taking 7 Rule 30(b)(6) depositions of Defendant, preparing a robust motion for
15 certification of a litigation class, and petitioning for permission to appeal the Court’s
16 denial of class certification. Hawkins Decl. [Rudsell Dkt. 32-1]; Saltzman Decl. [Rudsell
17 Dkt. 32-3]. The named Plaintiffs understand their duties as class representatives and do

18 not have any conflicts with the proposed class members. Saucillo Decl., ¶¶ 3-7; Rudsell
19 Decl., ¶¶ 3-7. Plaintiff Saucillo also sat for two days of deposition in fulfilling his role as
20 class representative. Saucillo Decl., ¶ 6.

21            The Court should therefore find that it will likely be able to conclude that Plaintiffs
22 and their counsel are adequate class representatives.
23

24
                                                       -16-                  Case No. 5:10-cv-00809-VAP-OP)
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 1            2.       Rule 23(b)(3)
 2                     a.      Predominance
 3            “The predominance analysis under Rule 23(b)(3) focuses on ‘the relationship
 4 between the common and individual issues’ in the case and ‘tests whether proposed
 5 classes are sufficiently cohesive to warrant adjudication by representation.’” Wang v.
 6 Chinese Daily News, Inc., 737 F.3d 538, 545 (9th Cir. 2013) (quoting Hanlon, 150 F.3d
 7 at 1022). “When one or more of the central issues in the action are common to the class
 8 and can be deemed to predominate, certification may be proper under Rule 23(b)(3) even
 9 though other important matters, such as damages or affirmative defenses, will have to be
10 tried separately.” Gatdula, 2015 WL 12765542, at *5.
11            In this case, and for the purposes of settlement, the common issues identified above

12 predominate over any individualized questions. The entire class was compensated by the
13 same piece-rate mileage-based system, which Plaintiffs contend is facially unlawful.
14 Plaintiffs also allege that the entire class was uniformly deprived of meal and rest breaks
15 and reimbursement of business expenses. Furthermore, a significant common issue is the
16 impact the December 21, 2018 FMCSA preemption determination and other potential
17 future determinations on the proposed class claims. If the FMCSA determination is

18 upheld and deemed retroactive, it would preempt the entire class’ meal and rest break
19 claims.
20            Under similar circumstances, courts have not hesitated to find predominance for

21 purposes of a Rule 26(b)(3) settlement class. See, e.g., Rodriguez, 2017 WL 4132430, at
22 *7 (“Defendant’s policies present several questions common to the class that predominate
23 over any individualized inquiry”); Nunez v. BAE Sys. San Diego Ship Repair Inc., 292 F.

24 Supp. 3d 1018, 1036 (S.D. Cal. 2017) (“the common issues of whether Defendant's
                                                       -17-                  Case No. 5:10-cv-00809-VAP-OP)
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 1 policies and practices failed to, for example, compensate Class Members for all time
 2 worked, provide an opportunity for compliant meal and rest periods, and provide accurate
 3 wage statements predominate over the individual issues such as length of employment
 4 and particularized grievances”); Torchia v. W.W. Grainger, Inc., 304 F.R.D. 256, 267
 5 (E.D. Cal. 2014) (“In this case, the parties agree that common issues predominate over
 6 any individual issues because the ‘compensation and reimbursement policies’
 7 implemented by Defendant ‘uniformly applied to the Class Members’”); Gatdula, 2015
 8 WL 12765542 at *5 (“Plaintiffs have demonstrated that common issues predominate over
 9 individualized concerns”).
10                     b.      Superiority
11            “The superiority inquiry under Rule 23(b)(3) requires determination of whether the
12 objectives of the particular class action procedure will be achieved in the particular
13 case…This determination necessarily involves a comparative evaluation of alternative
14 mechanisms of dispute resolution.” Hanlon, 150 F.3d at 1023. When the parties seek
15 certification of a settlement class only, the court need not consider trial
16 manageability concerns in addressing superiority. Fowler v. Union Pac. R.R. Co.,
17 2018 WL 6318836, at *5 (C.D. Cal. 2018); McCrary v. Elations Co., LLC, , 2015 WL

18 12746707, at *7 (C.D. Cal. 2015).
19            In this case there are over 19,000 proposed class members whose claims involve
20 allegations of non-compliant meal and rest breaks and up to 30 minutes of other unpaid

21 time per day. Dkt. 32 at p. 20. In light of the size of the proposed class and relatively
22 small amounts at stake, a comprehensive class settlement is superior to 19,000 individual
23 actions seeking unpaid wages and business expenses and compensation for non-

24 compliant meal and rest breaks.                See Gatdula, 2015 WL12765542 at *5 (“Where
                                                       -18-                  Case No. 5:10-cv-00809-VAP-OP)
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 1 recovery on an individual basis would be dwarfed by the cost of litigating on an
 2 individual basis, this factor weighs in favor of class certification”); see also Fowler, 2018
 3 WL 6318836 at *5 (“it would not be economical for individual class members to litigate
 4 their claims because of the disparity between the litigation costs and the potential
 5 recovery…Accordingly, the Court concludes the superiority requirement is also
 6 satisfied”).
 7            The Court should therefore conclude it will likely be able to find that a class
 8 settlement is a superior means of responding the Parties’ disputes.
 9            For all of the foregoing reasons, the record before the Court permits it to find that it
10 will likely be able to certify a settlement case under Rule 23(b)(3). Preliminary approval
11 of the Parties’ settlement should therefore be granted.
12 B.         The Court Will Likely Be Able to Conclude the Proposed Settlement is Fair,
13            Reasonable and Adequate Following a Final Fairness Hearing
14            A proposed class settlement negotiated at arm’s length between counsel comes
15 before the Court with a presumption of fairness. Corson v. Toyota Motor Sales U.S.A.,
16 Inc., 2016 WL 1375838, at *7 (C.D. Cal. 2016); Nat'l Rural Telecommunications
17 Coop. v. DIRECTV, Inc., 221 F.R.D. 523, 528 (C.D. Cal. 2004). The Ninth Circuit has a

18 “strong judicial policy that favors settlements, particularly where complex class action
19 litigation is concerned” that must inform whether a proposed class settlement is fair,
20 reasonable, and adequate. In re Syncor ERISA Litig., 516 F.3d 1095, 1101 (9th Cir.

21 2008); Class Plaintiffs v. City of Seattle, 955 F.2d 1268, 1276 (9th Cir. 1992).
22            The Ninth Circuit “put[s] a good deal of stock in the product of an arms-length,
23 non-collusive, negotiated resolution” and does not “prescribe[] a particular formula by

24 which that outcome must be tested.” Rodriguez v. W. Publ’g Corp., 563 F.3d 948, 965
                                                       -19-                  Case No. 5:10-cv-00809-VAP-OP)
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 1 (9th Cir. 2009). “The proposed settlement is not to be judged against a hypothetical or
 2 speculative measure of what might have been achieved by the negotiators” and
 3 “[u]ltimately, the district court's determination is nothing more than ‘an amalgam of
 4 delicate balancing, gross approximations and rough justice.’” Officers for Justice v. Civil
 5 Serv. Com., 688 F.2d 615, 625 (9th Cir. 1982) (quoting Detroit v. Grinnell Corp., 495
 6 F.2d 448, 468 (2d Cir. 1974)). “It is neither required, nor is it possible for a court to
 7 determine that the settlement is the fairest possible resolution of the claims of every
 8 individual class member; rather, the settlement, taken as a whole, must be fair, adequate,
 9 and reasonable.” Shy v. Navistar Int’l. Corp., No. C3-92-333, 1993 WL 1318607, at *2
10 (S.D. Ohio 1993).
11            As discussed above, Rule 23(e)(2) sets forth various factors the Court must
12 consider in determining whether a proposed class settlement merits approval. Here, the
13 Rule 23(e)(2) factors each weigh in favor of a finding that the Parties’ settlement is fair,
14 reasonable, and adequate.
15            1.       “The Class Representatives and Class Counsel Have Adequately
16                     Represented the Class”
17            Plaintiffs and their counsel have vigorously and tenaciously litigated this case over

18 many years. 2 Over one million pages of documents were produced in discovery, and at
19 least 14 depositions (including 7 Rule 30(b)(6) depositions of Swift) were taken in the
20 long course of this litigation. See In re Anthem, Inc. Data Breach Litig., 327 F.R.D. 299,

21 320 (N.D. Cal. 2018) (“Extensive discovery is … indicative of a lack of collusion, as the
22
     2
23   The relative lack of activity in Rudsell action is explained by the fact that the case was
   stayed in favor of the Burnell action for many years. Rudsell Dkt. 26. Plaintiff Rudsell
24 had vigorously opposed Defendant’s motion for a stay. Rudsell Dkt. 21.
                                               -20-                   Case No. 5:10-cv-00809-VAP-OP)
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 1 parties         have      litigated   the   case   in   an   adversarial    manner”);    Nat'l   Rural
 2 Telecommunications Coop. v. DIRECTV, Inc., 221 F.R.D. 523, 527–28 (C.D. Cal. 2004)
 3 (“A settlement following sufficient discovery and genuine arms-length negotiation is
 4 presumed fair”); see also Hanlon, 150 F.3d at 1026 (“the extent of discovery completed
 5 and the stage of the proceedings” relevant to fairness of settlement). Plaintiff Saucillo
 6 and his counsel prepared a lengthy motion for class certification supported by a plethora
 7 of evidence and, when the motion was denied, petitioned the Ninth Circuit for permission
 8 to appeal under Rule 23(f). Furthermore, there is no evidence of collusion or any
 9 conflicts between Plaintiffs and their attorneys and the proposed class. The first Rule
10 23(e) factor, whether “the class representatives and class counsel have adequately
11 represented the class,” therefore weighs in favor of approval.
12            2.       “The Proposal Was Negotiated at Arm's Length”
13            There is no dispute that the Parties’ settlement was reached after extensive and
14 lengthy arm’s length, adversarial negotiations. The Parties attended a full day mediation
15 with experienced and well respected mediator Mark Rudy on April 23, 2018, and
16 continued negotiating and haggling over the terms of the settlement (with Mr. Rudy’s
17 continued assistance) until it was finally executed more than a year later in May 2019.

18 See Glass v. UBS Fin. Servs., Inc., 2007 WL 221862, at *5 (N.D. Cal. 2007) (settlement
19 negotiated “with the assistance of a well-respected mediator with substantial experience
20 in employment litigation…supports approval of the settlement.” While both sides surely

21 would have liked to obtain more in the deal, the final agreement is something each Party
22 concluded it can live with and is the result of non-collusive, adversarial negotiations. See
23 Valdez v. Neil Jones Food Co., 2016 WL 4247911, at *8 (E.D. Cal. 2016) (“The Court is

24 to accord great weight to the recommendation of counsel because they are aware of the
                                                       -21-                  Case No. 5:10-cv-00809-VAP-OP)
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 1 facts of the litigation and in a better position than the court to produce a settlement that
 2 fairly reflects the parties' expected outcome in the litigation”); see also Lane v. Facebook,
 3 Inc., 696 F.3d 811, 821-23 (9th Cir. 2012) (“[T]he district court properly declined to
 4 undermine [the parties’] negotiations by second-guessing the parties’ decision as part of
 5 its fairness review over the settlement agreement”).
 6            Thus, the second Rule 23(e) factor, whether “the class representatives and class
 7 counsel have adequately represented the class,” supports approval of the Parties’
 8 settlement.
 9            3.       “The Relief Provided for the Class Is Adequate”
10            The Ninth Circuit does not require district courts to “specifically weigh[] the
11 merits of the class's case against the settlement amount and quantif[y] the expected value
12 of fully litigating the matter” in order to evaluate the fairness of a class settlement.
13 Rodriguez, 563 F.3d at 965. Nor is the Court required to “find a specific monetary value
14 corresponding to each of the plaintiff class's statutory claims and compare the value of
15 those claims to the proffered settlement award.” Lane, 696 F.3d at 823. The Court
16 further “need not reach any ultimate conclusions on the contested issues of fact and law
17 which underlie the merits of the dispute, for it is the very uncertainty of outcome in

18 litigation and avoidance of wasteful and expensive litigation that induce consensual
19 settlements.” Officers for Justice v. Civil Serv. Com., 688 F.2d 615, 625 (9th Cir. 1982);
20 see also Eisen v. Porsche Cars N. Am., Inc., 2014 WL 439006, at *3 (C.D. Cal. 2014)

21 (“Because absolute precision is impossible, ‘ballpark valuations’ are permissible,
22 especially when reached after mediated negotiation among non-collusive parties”).
23            Here, the $7,250,000.00 settlement amount is fair, reasonable and adequate in light

24 of the posture of the case, rulings by this Court and others in similar matters, the
                                                       -22-                  Case No. 5:10-cv-00809-VAP-OP)
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 1 December 21, 2018 FMCSA preemption determination as well as the current political
 2 climate in which it is entirely possible, perhaps likely, that other legislative and/or
 3 political efforts may further undermine the viability of the claims in the case. The
 4 numbers allocated to Plaintiffs’ claims in Plaintiffs’ preliminary approval motion reflect
 5 the absolute best case maximum recovery conceivably available at trial and do not
 6 account for the significant obstacles will face in establishing such damages. See Officers
 7 for Justice, 688 F.2d at 624 (9th Cir. 1982) (“Of course, the very essence of a settlement
 8 is compromise, a yielding of absolutes and an abandoning of highest hopes.”) (quotations
 9 omitted); Linney v. Cellular Alaska P'ship, 151 F.3d 1234, 1242 (9th Cir. 1998) (“The
10 fact that a proposed settlement may only amount to a fraction of the potential recovery
11 does not, in and of itself, mean that the proposed settlement is grossly inadequate and
12 should be disapproved”) (quotations omitted). The numbers reflect an assumption that
13 Plaintiffs would be able to prove a 100% violation rate for the entire class and up to 70
14 minutes of unpaid work time every day, which would be extraordinarily difficult for
15 Plaintiffs to do even if they were somehow able to establish class-wide liability.
16            The Ninth Circuit has directed that district courts are to consider “the risk of
17 maintaining class action status throughout the trial” in evaluating the fairness of a class

18 settlement, which in this case creates a substantial risk that the proposed class will
19 recover nothing.             See In re Toys-R-Us-Delaware, Inc. – Fair and Accurate Credit
20 Transactions Act Litig., 295 F.R.D. 438, 452-53 (C.D. Cal. 2014) (“Avoiding the risk of

21 decertification . . . favors approval of [a] settlement); see also McKenzie v. Fed. Exp.
22 Corp., 2012 WL 2930201, *4 (C.D. Cal. 2012) (“[S]ettlement avoids all possible risk [of
23 decertification]. This factor therefore weighs in favor of final approval of the

24 settlement”). The Court has already denied certification of a litigation class in the
                                                       -23-                  Case No. 5:10-cv-00809-VAP-OP)
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 1 Burnell action and in two substantially similar cases against Defendant. Burnell v. Swift
 2 Transportation Co of Arizona, LLC, , 2016 WL 2621616 (C.D. Cal. 2016); Mares v. Swift
 3 Transportation Co. of Arizona, LLC, 2017 WL 10592147 (C.D. Cal. 2017); McKinsty v.
 4 Swift Transportation Co. of Arizona, LLC, 2017 WL 10059288 (C.D. Cal. 2017).
 5 Furthermore, the Ninth Circuit denied petitions for permission to appeal the Court’s
 6 orders denying class certification in each of these cases. Burnell, Ninth Cir. No. 16-
 7 80070, Dkt. 10 Mares, Ninth Cir. No. 17-80096, Dkt. 3; McKinsty, Ninth Cir. No. 17-
 8 80148, Dkt 6.
 9            In order to have any hope of recovering more than $0.00 for the proposed class,
10 Plaintiff Saucillo will need to proceed to final judgment on his individual claims (perhaps
11 requiring a trial), appeal the Court’s denial of class certification, and convince the Ninth
12 Circuit that the Court abused its discretion in declining to certify a settlement class; a
13 highly deferential standard of review. See Coopers & Lybrand v. Livesay, 437 U.S. 463
14 (1978) (denial of class certification appealable only from final judgment); Vinole v.
15 Countrywide Home Loans, Inc., 571 F.3d 935, 939 (9th Cir. 2009) (“We review a district
16 court's order denying class certification for an abuse of discretion”).                   For Plaintiff
17 Rudsell, the trek is even longer. He will have to first move for class certification which

18 will likely will likely be denied in light of the Burnell, Mares, and McKinstry orders),
19 obtain a final judgment on his individual claims (perhaps following trial), and then appeal
20 the denial of class certification. The Parties are likely years away from resolving the

21 threshold issue of class certification, let alone litigating the merits of Plaintiffs’ class
22 claims. In light of the class certification difficulties Plaintiffs face and the time and
23 expense needed to litigate them, the agreed upon settlement value is within the range of

24 reasonableness. See In re Toys R Us-Delaware, 295 F.R.D. at 453 (“Estimates of a fair
                                                       -24-                  Case No. 5:10-cv-00809-VAP-OP)
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 1 settlement figure are tempered by factors such as the risk of losing at trial, the expense of
 2 litigating the case, and the expected delay in recovery (often measured in years)”;
 3 Marshall v. Nat'l Football League, 787 F.3d 502, 512 (8th Cir. 2015) (affirming approval
 4 of class settlement where “before settling, the parties had already spent three years in
 5 litigation and had not yet even achieved class certification”).
 6            Even if Plaintiffs are eventually able to overcome the hurdles associated with
 7 certifying a class, there is a substantial risk that Plaintiffs will not be able to prevail on
 8 the merits. On December 21, 2018, the FMCSA exercised its authority under 49 U.S.C. §
 9 31141 to preempt California’s meal and rest break laws as applied to truck drivers subject
10 to federal hours of service regulations, which in this case is every single proposed class
11 member. 49 U.S.C. § 31141(a) (“A State may not enforce a State law or regulation on
12 commercial motor vehicle safety that the Secretary of Transportation decides under this
13 section may not be enforced”)              The FMCSA clarified on March 22, 2019 that its
14 preemption determination is intended to apply retroactively to all pending litigation.3 At
15 least two federal courts in California have already concluded that the December 21, 2018
16 preemption determination is retroactive and dispositive of claims arising under
17 California’s meal and rest break laws. Henry v. Cent. Freight Lines, Inc., 2019 WL

18 2465330, at *4 (E.D. Cal. 2019); Ayala v. U.S Xpress Enterprises, Inc., 2019 WL
19 1986760, at *3 (C.D. Cal. 2019). These cases further hold that the district courts are
20 powerless to question the validity of the preemption determination, because 49 U.S.C. §

21 31141(f) requires petitions for judicial review to be filed directly in an applicable Court
22 of Appeals. Id. Thus, if Plaintiffs are to have any prospect for success on their meal and
23
     3
     A copy of the FMCSA’s March 22, 2019 retroactivity opinion is attached to this
24 supplemental brief as Exhibit B.
                                      -25-                 Case No. 5:10-cv-00809-VAP-OP)
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 1 rest period claims, the Ninth Circuit will need to grant one of several pending petitions
 2 for judicial review of the December 21, 2018 preemption determination under the
 3 Administrative Procedures Act; a daunting proposition in light of the discretion afforded
 4 to the FMCSA under 49 U.S.C. § 31141. 4 See 5 U.S.C. § 706(2) (“agency action,
 5 findings, and conclusions” may be set aside if they are “arbitrary, capricious, an abuse of
 6 discretion, or otherwise not in accordance with law”); see also Chevron, U.S.A., Inc. v.
 7 NRDC, Inc., 467 U.S. 837 (1984). In any event, no decision on any of the pending
 8 petitions for judicial review is expected in the near future.
 9            It is also worth noting that the political environment leading to the FMCSA
10 determination has not changed and it is entirely possible that further administrative or
11 legislative action could invalidate or severely limit Plaintiffs’ other wage-hour claims.
12 The value of the settlement must be viewed in the light of the possibility (a non-zero
13 possibility) that all of Plaintiffs’ claims may ultimately be mooted by such action.
14            Furthermore, this Court has granted summary judgment to the Defendant and
15 another motor carrier in similar cases asserting similar claims to those alleged by Plaintiff
16 here, even prior to the FMCSA determination of preemption.                  See Mares v. Swift
17 Transportation Co. of Arizona, LLC (C.D. Cal. 2018); Cole v. CRST, Inc., 2017 WL

18 1234215, at *1 (C.D. Cal. 2017). There is significant risk that Plaintiffs’ case would
19 ultimately meet the same fate given similarity of the facts, claims and legal theories,
20 which would then require yet another lengthy appeal with an uncertain prospect for

21 success. See Nat. Rural Telecomms. Coop v. DirecTV, Inc., 221 F.R.D. 523, 527 (C.D.
22
     4
23   The FMCSA preemption determination arguably applies not only to Plaintiffs’ claims
   that Defendant did not provide meal and rest breaks, but also to their claims that
24 Defendant did not pay for employee time spent of rest breaks.
                                            -26-                 Case No. 5:10-cv-00809-VAP-OP)
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 1 Cal. 2004) (“Avoiding such a trial and the subsequent appeals in this complex case
 2 strongly militates in favor of settlement rather than further protracted and uncertain
 3 litigation”); see also Rule 23(e)(2)(C)(i) (“the costs, risks, and delay of trial and appeal”
 4 should be considered in evaluating whether “the relief provided for the class is
 5 adequate”).
 6            In light of the circumstances described above, the maximum exposure amount
 7 $211,000,000 must be heavily discounted. 5 There is a distinct possibility that if the
 8 settlement is not approved the settlement class members will walk away with nothing.
 9 Accordingly, the settlement sum of $7,250,000 is within the “range of possible judicial
10 approval” for purposes of preliminary approval. Wright, 259 F.R.D. at 472. This sum
11 results in an average gross recovery of approximately $380 (before deductions for fees
12 and administration) per class member, which is fair and reasonable given the uncertainty
13 Plaintiffs will ever obtain a class recovery even if they spend the next several years
14 litigating the case. 6 Furthermore, the Court will be in a better position to fully evaluate
15 the fairness of the settlement at a final fairness hearing after hearing from potential
16 objectors. See Hanlon, 150 F.3d at 1026 (court should consider “the reaction of the class
17 members to the proposed settlement”).

18            Additionally, recognizing the large turnover rate incurred with truck drivers
19 throughout the industry, another manner to view the value of the settlement is to analyze
20
     5
     As noted in the Court’s July 19, 2019 request for supplemental briefing, the maximum
21 exposure amount of $211,000,000 consists of $96,000,000 for unpaid wages, half of the
22 unpaid wages claim ($48,000,000) for unpaid rest breaks, half of the unpaid wages claim
   ($48,000,000) for illegal meal breaks, and $19,000,000 for Plaintiffs’ wage statement
23 claim.
   6
     $7,250,000 gross settlement amount / 19,000 class members = $381.58 per class
24 member.
                                             -27-                 Case No. 5:10-cv-00809-VAP-OP)
     SMRH:4812-6567-9261.3   JOINT SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION FOR PRELIMINARY APPROVAL
                                             OF THE PARTIES’ CLASS ACTION SETTLEMENT
Case 5:10-cv-00809-VAP-OP Document 193 Filed 07/29/19 Page 28 of 29 Page ID #:3283




 1 the recovery in terms of the amount paid to each “full time equivalent” (FTE) position –
 2 that is, how much would any driver who may have worked the entire class period
 3 recover? Here, while there are over 19,000 class members, they collectively worked in
 4 only between 1,600 and 2,500 driver positions, depending on what part of the class
 5 period is analyzed. From approximately 2006 to 2012, the average number of class
 6 member drivers employed by Defendant was approximately 1,600. Rudsell Dkt., 2, ¶ 12;
 7 Burnell Dkt. 4, ¶ 11. Later, the average number of class member drivers employed by
 8 Defendant increased to approximately 2,500.                   Peck v. Swift Transportation Co. of

 9 Arizona, 2:17-cv-06173, Dkt. 3, ¶ 10.                 Dividing those numbers by the total gross
10 settlement yields an average FTE recovery of between $2,900 and $4,531.25.
11            For these reasons, under the third Rule 23(e) factor, whether “the relief provided

12 for the class is adequate,” the Parties’ settlement should be preliminarily approved.
13            4.       “The Proposal Treats Class Members Equitably Relative to Each
14                     Other”

15            The Parties’ settlement treats each proposed class member equally and allocates
16 awards based on standard, straightforward workweek basis.                       See Castillo v. Cox
17 Commc'ns, Inc., 2012 WL 12953434, at *3 (S.D. Cal. 2012) (preliminarily approving

18 wage and hour settlement allocated by workweeks); see also Moody v. Charming
19 Shoppes of Delaware, Inc., 2009 WL 10699672, at *15 (N.D. Cal. 2009) (“a work-week
20 calculation is simply one of many ways to allocate a fair settlement in a class action”).

21 Notably, the settlement is structured so that if the amount of workweeks the settlement is
22 based on increases, Swift will be required to contribute additional funds.
23            Thus, under the fourth Rule 23(e) factor, whether “the proposal treats class

24 members equitably relative to each other,” the settlement should be approved.
                                                       -28-                  Case No. 5:10-cv-00809-VAP-OP)
     SMRH:4812-6567-9261.3   JOINT SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION FOR PRELIMINARY APPROVAL
                                             OF THE PARTIES’ CLASS ACTION SETTLEMENT
Case 5:10-cv-00809-VAP-OP Document 193 Filed 07/29/19 Page 29 of 29 Page ID #:3284




 1                                            IV.    CONCLUSION
 2            For all the reasons set forth above, the Parties respectfully request that the Court
     grant preliminary approval of the settlement.
 3
     Dated: July 29, 2019
 4
                                           SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
 5
 6
                                           By             /s/ John Ellis
 7                                                      PAUL S. COWIE
                                                       ROBERT MUSSIG
                                                          JOHN ELLIS
 8                                                    CORINNE K. HAYS
                                                    Attorneys For Defendants
 9                                           SWIFT TRANSPORTATION CO. OF
10                                                ARIZONA, LLC and SWIFT
                                               TRANSPORTATION COMPANY
11 Pursuant to Local Rule 5-4.3.4, I attest that the signatories listed below, and on whose
12 behalf this filing is submitted, concur in the filing’s content and have authorized this
   filing.
13
   Dated: July 29, 2019
14
                                  JAMES HAWKINS, APLC
15
16                                         By                    /s/ Gregory Mauro
17                                                               JAMES HAWKINS
                                                                GREGORY MAURO
                                                                Attorneys For Plaintiff
18                                                                JAMES RUDSELL
19
     Dated: July 29, 2019
20
                                           MARLIN & SALTZMAN, LLP
21
22
                                           By                   /s/ Stanley D. Saltzman
23                                                           STANLEY D. SATLZMAN
                                                               Attorneys For Plaintiff
24                                                             GILBERT SAUCILLO
                                                       -29-                  Case No. 5:10-cv-00809-VAP-OP)
     SMRH:4812-6567-9261.3   JOINT SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION FOR PRELIMINARY APPROVAL
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